                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF OHIO
                                     CLEVELAND DIVISION

 SAILOR, et al.,                               )       Civil Action NO.: 1:20-cv-00660-DAR
                                               )
        Plaintiff,                             )
                                               )       JUDGE DAVID A. RUIZ
        vs.                                    )
                                               )
City of Cleveland, et al.,                     )       MOTION TO VOLUNTARILY
                                               )       WITHDRAW REQUEST TO
        Defendant.                             )       INTERVENE
                                               )


        Now comes Kimberly Corral/Law Office of Kimberly Corral, by and through

 undersigned counsel, Friedman, Nemecek, Long & Grant, L.L.C., and hereby respectfully moves

 this Honorable Court to voluntarily withdraw her Motion to Intervene (Doc. #93), which was

 filed on or about August 16, 2024. As the Court is aware, the basis for the Motion to Intervene

 was the Defendants’ issuance of a subpoena duces tecum upon GTL for recorded

 communications between Kimberly Corral/Law Office of Kimberly Corral and their clients or

 prospective clients. Following discussions with defense counsel, the Defendants decided to

 withdraw their subpoena to GTL. Because Kimberly Corral/Law Office of Kimberly Corral’s

 interest and/or basis for intervention is no longer an issue, counsel respectfully moves to

 withdraw its request to intervene at this juncture.

        The undersigned has advised Ms. Corral as to the practical effect that withdrawing said

 Motion would have on her his ability to intervene in the above captioned matter. Ms. Corral

 confirmed her understanding of the same and directed counsel to withdraw the previously filed

 Motion to Intervene. (Doc. #93).
       WHEREFORE, the Defendant, Kimberly Corral/Law Office of Kimberly Corral, hereby

respectfully moves this Honorable Court to withdraw her Motion to Intervene (Doc. #93), which

was filed on August 16, 2024.



                                   Respectfully submitted,

                                   /s/ Eric C. Nemecek
                                   ERIC C. NEMECEK (0083195)
                                   Counsel for Kimberly Corral/Kimberly Corral Law Office
                                   Friedman Nemecek Long & Grant, L.L.C.
                                   1360 East 9th Street, Suite 650
                                   Cleveland, Ohio 44114
                                   P: (216) 928-7700
                                   F: (216) 820-4659
                                   E: ecn@fanlegal.com




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion was filed by CM/ECF on the 22nd

day of August, 2024, which will send a notification of such filing to all parties in this matter.


                                       Respectfully submitted,



                                       /s/ Eric Nemecek
                                       ERIC C. NEMECEK
                                       Counsel for Kimberly Corral/Kimberly Corral Law Office




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